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                      IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION
                                                             ZM (247 - 1                 A 11:

UNITED STATES OF AMERICA,

                         Plaintiff,

                 v.                                    MISC NO.   6, -rnc,-35- rite)
ROOT STAFF CORPORATION;
BOSTON,MA ,

                         Garnishee,

MARCUS HURRY,

                        Defendant.


                        APPLICATION FOR WRIT OF GARNISHMENT

       The United States of America makes application in accordance with 28 U.S.C. Section

3205(b)(1) to the Clerk of the United States District Court to issue a Writ of Garnishment upon

the Judgment in Criminal Case No. 2:12CR000063-001 entered against the defendant, Marcus

Hurry; the last four digits of defendant's Social Security Number are XXX-XX-8292; whose last

known address is 1370 Santa Victoria Road, Unit #3, Chula Vista, California 91913, in the above

cited action in the amount of $55,215.91, plus costs. There is a balance due of $26,090.91, as of

September 30, 2019.

       Demand for payment of the above stated debt was made upon the debtor not less than 30

days from September 30, 2019, but defendant has failed to satisfy this debt.

       The Garnishee is believed to owe or will owe money to the judgment debtor, or is in

possession of property of the debtor, in which the debtor has a substantial non-exempt interest.
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The name and address of the Garnishee or his authorized agent is:

Root Staff Corporation
101 Federal Street
Suite 1900
Boston, MA 02110

DATED: September 30, 2019.


                                   LOUIS V.FRANKLIN,SR.
                                   UNITED STATES ATTORNEY


                      BY:
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